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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CASANDRA VENTURA                                                :
                                                                :   Civil Case No.: 23-cv-10098
                                    Plaintiff,                  :
                                                                :
                  v.                                            :
                                                                :
SEAN COMBS, BAD BOY ENTERTAINMENT, :                                NOTICE OF APPERANCE
BAD BOY RECORDS, EPIC RECORDS, COMBS :
ENTERPRISES, LLC, and DOE CORPS. 1-10,                          :
                                                                :
                                    Defendants.                 :
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        PLEASE TAKE NOTICE that Meredith A. Firetog of Wigdor LLP hereby enters her

appearance as counsel on behalf of Plaintiff Casandra Ventura in the above-captioned matter.

Dated: November 16, 2023
       New York, New York                                    Respectfully submitted,

                                                             WIGDOR LLP


                                                             By: ____________________________
                                                                    Meredith A. Firetog

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